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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION


ROBERT ZEHE,                                             )     CASE NO.          5:10CV1785
                                                         )                       5:07CR0574
                              PETITIONER,                )
                                                         )     JUDGE SARA LIOI
vs.                                                      )
                                                         )
UNITED STATES OF AMERICA,                                )     MEMORANDUM OPINION
                                                         )     AND ORDER
                                                         )
                              RESPONDENT.                )
                                                         )



                    Before the Court is petitioner’s pro se motion under 28 U.S.C. § 2255 to vacate,

reduce and correct his sentence. (Crim. Doc. No. 371.)1 Respondent has filed an opposition brief

(Doc. No. 383); petitioner filed no response to the opposition.

                                                   I. DISCUSSION

A.         Background

                    On July 11, 2008, after pleading guilty to one count of conspiracy to distribute

and to possess with intent to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(B), petitioner2 was sentenced to 78 months of incarceration and 4 years of supervised

release. (Doc. No. 231.) He was represented by counsel at his sentencing hearing. No appeal was

ever filed from the sentence he received.




1
    All docket references are to the criminal case docket.
2
 Petitioner was indicted on November 6, 2007, along with thirteen others, in a three-count indictment wherein he
was charged only on count one. He pled guilty on May 1, 2008.
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                 By the terms of the plea agreement, the parties agreed that petitioner’s base

offense level was 32 and, “[e]xcept for Acceptance of Responsibility and the possible application

of the ‘safety valve’ provision (U.S.S.G. §2D1.1(b)(11)), the parties agree[d] that no other

offense level adjustments should apply.” (Doc. No. 190, ¶ 7.) The government also agreed to

recommend that petitioner receive three points for acceptance of responsibility. (Id. ¶ 8.) The

plea agreement made clear that the parties anticipated a final offense level of 29, or 27 if safety

valve applied.

                 The Presentence Report (PSR) provided a base level of 32 and added two points

for possession of a dangerous weapon, for an adjusted offense level of 34. After allowing three

points for acceptance of responsibility, the final adjusted offense level was 31. Through counsel,

petitioner filed objections to the enhancement for possession of a weapon and challenged the

criminal history category as being overstated. The probation officer agreed that the overstated

criminal history category may be grounds for departure.

                 On the day of sentencing, petitioner’s counsel withdrew the objection to the

firearm enhancement. However, he urged the Court to consider a departure so as to lower the

criminal history category.

                 The Court concluded that the criminal history category of III overstated

petitioner’s past criminal conduct and lowered it to II, without any objection from the

government. The base offense level was found to be 32 and, with the added two-level increase

for the firearm possession, the final offense level was 34. This was adjusted to 32 for acceptance

of responsibility. The government recommended, and the Court adopted, an additional one-level

reduction for acceptance of responsibility, resulting in an offense level of 31. Because petitioner

had also given substantial assistance to the government, an additional four-level reduction was

                                                2
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granted, for a final offense level of 27. With a criminal history category II and a final offense

level of 27, the sentencing range was 78 to 97 months. Petitioner was sentenced to 78 months,

plus four years supervised release.

                  No appeal was filed, making the judgment final for purposes of a § 2255 motion

as of July 21, 2008. 28 U.S.C. § 2255(f); Sanchez-Castellano v. United States, 358 F.3d 424, 427

(6th Cir. 2004) (judgment becomes final upon the expiration of the ten-day period in which a

defendant could have appealed).3

B.       Analysis

                  Petitioner raises one ground in support of his motion to vacate, set aside or correct

his sentence, namely, ineffective assistance of counsel. He asserts that counsel failed to properly

investigate the facts of the case and, therefore, failed to object to the two-point firearm

enhancement.

                  The government argues that, under 28 U.S.C. § 2255(f), petitioner’s motion is

time-barred but that, in any event, he is unable to meet the test in Strickland v. Washington, 466

U.S. 668 (1984) to establish ineffective assistance of counsel because petitioner’s attorney

actually obtained a result that included a better guideline calculation than the result that probably

would have followed from a finding of no increase for gun possession.

                  The Court need not decide the merits of petitioner’s assertion of ineffective

assistance of counsel because, as argued by the government, this motion is time-barred under §

2255(f). To have been timely, the motion should have been filed by July 21, 2008. It was not

filed until August 12, 2010. Nor is petitioner assisted by the fact that he sought an extension of


3
 At his sentencing hearing, petitioner was advised of his right to appeal and that such appeal would need to be filed
within ten days. See Doc. No. 382 at 20-22.
                                                         3
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time which was not granted. That extension was not sought until August 17, 2009, a date by

which the one-year statute had long since run.

                                      II. CONCLUSION

               For the reasons set forth herein, petitioner’s motion brought pursuant to 28 U.S.C.

§ 2255 is DENIED and this case will be DISMISSED.

               The Court certifies that an appeal from this decision could not be taken in good

faith and that there is no basis upon which to issue a certificate of appealability. 28 U.S.C. §

1915(a)(3), 2253(c); Fed. R. App. P. 22(b).




               IT IS SO ORDERED.


Dated: May 3, 2011
                                                 HONORABLE SARA LIOI
                                                 UNITED STATES DISTRICT JUDGE




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